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10

11
                                  UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

14    EUGENE SCALIA, Secretary of Labor,                   )
      UNITED STATES DEPARTMENT OF                          )
15    LABOR,                                               )   Case No.: 3:17-cv-06624-RS-SK
                     Plaintiff,                            )
16                                                         )
                                                           )   CONSENT JUDGMENT AS TO
17    v.                                                   )   DEFENDANT ON COURIER 365,
18                                                         )   INC.
      TFORCE FINAL MILE WEST, LLC, a                       )
19    Delaware company; and ON COURIER                     )
      365, Inc., a California Corporation,                 )
20                                                         )
                                                           )
21                         Defendants.                     )
22                                                         )
      ____________________________________
23

24          Plaintiff Eugene Scalia, Secretary of Labor, U.S. Department of Labor (“Secretary”), and

25   Defendant ON COURIER 365, INC. (“Defendant”), (collectively, “Parties”) have agreed to

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27
                                CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                        Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

                                                       1
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 1   resolve the matters in controversy in this civil action 1 and agree to the entry of this Consent

 2   Judgment and Injunction (“Consent Judgment”) as provided below.

 3

 4   STATEMENTS BY AND AGREEMENTS BETWEEN THE PARTIES

 5            A. The Secretary filed a Complaint in the above-captioned proceeding naming

 6   Defendant and alleging it violated provisions of sections 6, 7, 11(c), 15(a)(2), 15(a)(3), and
     15(a)(5) of the Fair Labor Standards Act of 1938, as amended (“FLSA”), 29 U.S.C. §§ 206, 207,
 7
     211(c), 215(a)(2), 215(a)(3), and 215(a)(5). Defendant has filed an answer to the Complaint.
 8
              B.     Defendant admits that the Court has jurisdiction over the parties and the subject
 9
     matter of this civil action and that venue lies in the Northern District of California.
10
              C.     Defendant agree herein to resolve all allegations of the Secretary’s Complaint.
11
              D.     The Parties agree to waive findings of fact and conclusions of law and agree to
12
     the entry of this Consent Judgment without contest.
13
              E.     Defendant represents that it and all individuals and entities acting on its behalf or
14
     at their direction and any individual, entity, or corporation with ownership or managerial
15
     authority over Defendant have notice of, and understand, the provisions of this Consent
16
     Judgment.
17
              F.     Defendant admits that it is an employer covered and subject to the FLSA.
18            G.     In May 2016, Defendant converted all of its drivers from independent contractors
19   to employees. Defendant agrees that it will continue to classify all of its drivers as employees
20   and afford such individuals all protections and safeguards guaranteed under the FLSA, including
21   but not limited to those found in Sections 6, 7, 11(c), 15(a)(2), 15(a)(3) and 15(a)(5) of the Act.
22   //
23   //
24
     1 This settlement and consent judgment only resolves the allegations against On Courier 365
25
     arising out of its TForce/Dynamex contract and does not resolve and expressly excludes any
26   other Department of Labor investigations. Specifically, an investigation by the Wage and Hour
     Division, Sacramento District Office of On Courier 365 Sacramento location, Case Id. 1868095
27   is excluded from this settlement and consent judgment.
                                 CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                         Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

                                                        2
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 1   JUDGMENT AND PERMANENT INJUNCTION

 2          Pursuant to the statements and agreements above, upon joint motion of the attorneys for

 3   the Parties, and for cause shown,

 4          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

 5   17 of the FLSA, 29 U.S.C. § 217, Defendant, its officers, agents, servants, employees, successor

 6   companies, parties in interest, and all persons and entities acting at its direction or in concert or
     participation with it, are permanently enjoined and restrained from violating the FLSA, including
 7
     through any of the following manners:
 8
     1.     Contrary to the FLSA, failing to classify any drivers as non-exempt employees who shall
 9
            enjoy all protections and safeguards guaranteed under the FLSA, including but not
10
            limited to those found in Sections 6, 7, 11(c), 15(a)(2), 15(a)(3) and 15(a)(5) of the Act.
11
     2.     Contrary to Sections 6 and 15(a)(2) of the FLSA, paying any of its drivers or other
12
            employees who in any workweek are engaged in commerce or in the production of goods
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            for commerce or who are employed in an enterprise engaged in commerce within the
14
            meaning of the FLSA, wages at a rate less than the operative minimum wage, which
15
            cannot be less than $7.25 per hour (or at a rate less than such other applicable minimum
16
            rate as may hereafter be established by amendment to the FLSA).
17
     3.     Contrary to Sections 7 and 15(a)(2) of the FLSA, paying any of its drivers or other
18          employees who in any workweek are engaged in commerce or in the production of goods
19          for commerce or who are employed in an enterprise engaged in commerce within the
20          meaning of the FLSA, less than one and half times the particular employee’s regular
21          hourly rate for hours in excess of 40 hours in a workweek.
22   4.     Contrary to Sections 11(c) and 15(a)(5) of the FLSA, failing to make, keep, and preserve
23          records of its drivers or other employees and of the wages, hours and other conditions and
24          practices of employment maintained by them, as prescribed by the regulations issued, and

25          from time to time amended, pursuant to Section 11(c) of the FLSA and found in 29

26          C.F.R. Part 516, including for each driver, the hours worked each day and each

27          workweek, the driver’s regular hourly rate of pay, total daily or weekly straight time
                                 CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                         Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

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 1          earnings, overtime rate of pay, total premium pay for overtime hours and identification of

 2          each deduction made from the drivers’ earnings along with a description of the

 3          basis/reason and method of calculation of the deduction;

 4   5.     Contrary to Section 15(a)(3) of the FLSA, discharging; threatening to discharge, lay off,

 5          reduce the work schedule or wages, intimidate; or in any other manner discriminating

 6          against any driver or other employee as a result of this litigation or because such driver or
            employee has filed any complaint under or related to the FLSA or has spoken or provided
 7
            information to the Secretary’s representatives in connection with this litigation or
 8
            participated in or received a distribution from the proceeds of this action;
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     6.     Requesting, soliciting, suggesting, or coercing, directly, or indirectly, any driver to return
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            or to offer to return to the Defendants or to someone else for the Defendants, any money
11
            in the form of cash, check, or any other form, for wages previously due or to become due
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            in the future to said employee under the provisions of this judgment, or the FLSA; or
13
     7.     Withholding payment of $55,000, which constitutes the back wages agreed to be due to
14
            the present and former drivers, who are identified by name, driver number, periods of
15
            employment, and amounts owed in Exhibit 1, attached hereto.
16
            FURTHER, JUDGMENT IS HEREBY ENTERED, pursuant Section 16(c) of the
17
     FLSA, 29 U.S.C. § 216(c), in favor of the Secretary and against Defendant in the amount of
18   $110,000. Pursuant to this Judgment, IT IS HEREBY ORDERED THAT
19   8.     Defendant shall not withhold payment of $55,000 in minimum wage and overtime pay
20          hereby due under the FLSA and this Judgment, to individuals on Exhibit 1. Liquidated
21          damages in the amount of $55,000 are hereby due and will be paid under the FLSA by
22          the Defendant. Defendant shall make the payments set forth on the attached Exhibit 2.
23          The first payment due on March 15, 2020 shall have the Defendant’s name and “BWs” or
24          “LDs” written on it as indicated on Exhibit 2, payable to the order of the “Wage and Hour

25          Div., Labor.” Each subsequent payment shall have the Defendant’s name and “BWs” or

26          “LDs” written on each, payable to the order of the “Wage and Hour Div., Labor,” and be

27          delivered on or before the date the payment is due as set forth in Exhibit 2.
                                CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                        Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

                                                       4
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 1   9.    In the event of any default in the timely making of any payment due hereunder, the full

 2         amount due under the backwage and liquidated damages provisions of this Judgment

 3         which then remains unpaid, plus post-judgment interest at the rate of 10% per year, from

 4         the date of this Judgment until paid in full, shall become due and payable upon the

 5         Secretary’s sending by certified mail a written demand to the Defendant at the address set

 6         forth in paragraph 10.
     10.   Prior to sending the written demand, the Secretary shall send a notice of default by
 7
           certified mail to Defendant and Defendant’s attorney Ellen C. Arabian-Lee as follows:
 8

 9                Ellen C. Arabian-Lee
                  Arabian-Lee Law Corporation
10                1731 East Roseville Parkway, Suite 150
                  Roseville, CA 95661
11                ellen@arabian-leelaw.com
12
                  On Courier 365, Inc.
13                David Safie Khateeb
                  1431 Doolittle Drive
14                San Leandro, CA 94577

15
           The notice of default shall give notice that payment was not received by the Secretary
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           and shall grant defendant fourteen (14) calendar days to cure the default. If payment is
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           not received by the Secretary within fourteen (14) calendar days of the notice of default,
18
           the Secretary can commence enforcement of this Judgment.
19
     11.   The Secretary shall distribute the proceeds from the checks described in paragraph 8 in
20
           the amounts set forth in operative Exhibit l to the employees identified therein, or if
21         necessary, to the employees’ estates. Any monies not distributed to employees within
22         three (3) years from the date of the Secretary’s receipt of the checks, because of an
23         inability to locate the proper persons or because of their refusal to accept it, the Secretary
24         shall deposit the payment into the Treasury of the United States as miscellaneous receipts
25         under 29 U.S.C. § 216(c).
26   12.   Defendant, its officers, agents, servants, and employees and those persons in active
27         concert or participation with it, shall not in any way directly or indirectly, demand,
                               CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                       Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

                                                      5
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 1         require or accept any of the back wages or liquidated damages from the individuals listed

 2         on the operative Exhibit 1. Defendant shall not threaten or imply that adverse action will

 3         be taken against any employee because of their receipt of funds to be paid under this

 4         Judgment. Violation of this Paragraph may subject Defendant to equitable and legal

 5         damages, including punitive damages and civil contempt.

 6   13.   Defendant, its officers, agents, servants, and employees and those persons in active
           concert or participation with Defendant, shall not in any way retaliate or take any adverse
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           employment action, or threaten or imply that adverse action will be taken against any
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           employee who exercises or asserts his or her rights under the FLSA or provides
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           information to any public agency investigating compliance with the FLSA. Violation of
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           this Paragraph may subject Defendant to equitable and legal damages, including punitive
11
           damages and civil contempt.
12

13
                  FURTHER, IT IS HEREBY ORDERED THAT
14
     14.   The filing, pursuit, and/or resolution of this proceeding with the entry of this Judgment
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           shall not act as or be asserted as a bar to any action or claim under FLSA § 16(b), 29
16
           U.S.C. § 216(b), as to any employee not named on the attached Exhibit 1 or Amended
17
           Exhibit 1, nor as to any employee named on the attached Exhibit 1 or the Amended
18         Exhibit 1 for any period not specified therein, nor as to any employer other than On
19         Courier 365, Inc.;
20   15.   Each party shall bear its own fees and other expenses incurred by such party in
21         connection with any stage of this proceeding, including but not limited to attorneys’ fees,
22         which may be available under the Equal Access to Justice Act, as amended;
23   16.   This Court shall retain jurisdiction of this action for purposes of enforcing compliance
24         with the terms of this Judgment.

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                              CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                      Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

                                                     6
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 1          IT IS SO ORDERED

 2

 3              February 26
         Dated _____________, 2020

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 7                                                          United States District Judge
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                          CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                  Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

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     KATE O’SCANNLIAN
 1   Solicitor of Labor
 2
     JANET M. HEROLD
 3   Regional Solicitor

 4   __________________________
     KATHERINE E. CAMERON
 5
     Trial Attorney
 6
     Attorneys for the Plaintiff
 7   U.S. Department of Labor

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                                CONSENT JUDGMENT RE: ON COURIER 365, Inc.
                        Scalia v. TForce Final Mile West, LLC, et al. (3:17-CV-06624 RS-SK)

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                                               EXHIBIT 1


                                          Driver                               Total       Liquidated
Last Name       First Name                Number     Start Period   End Period Backwages Damages        Total
Abdullah        Zohaib                    3650I7        9/13/2015   10/10/2015      $30.15 $      30.15       $60.30
Abebe           Mengistu M                3650A         2/15/2015    4/23/2016 $2,538.49 $ 2,538.49        $5,076.97
Ali             Amjad                     3650P2t       2/14/2016     6/4/2016    $809.42 $      809.42   $1,618.85
Ali             Amjad                     3650D5t       5/24/2015    2/13/2016    $500.16 $      500.16   $1,000.31
Ameen           Arshad                    3650L5      12/20/2015      6/4/2016    $172.96 $      172.96     $345.93
Andar           Najibullah                3650J9      10/25/2015     3/26/2016    $347.18 $      347.18     $694.37
Azam            Faisal Mohammad           3650M8t       2/14/2016    2/27/2016      $16.07 $      16.07       $32.14
Bakar           Muwafaq Ahmed Yaseen      3650Qt        3/15/2015    4/25/2015    $169.99 $      169.99     $339.99
Baldivas        Danilo S                  3650A15t      4/26/2015   12/19/2015    $733.98 $      733.98   $1,467.97
Compuesto       Buenmar Raqueno           3650J         3/29/2015    5/23/2015      $93.08 $      93.08     $186.16
De Oliveira     Mauro Jorge               3650I6t       9/13/2015    9/26/2015      $10.25 $      10.25       $20.50
Dominguez       Roberto Carlos            3650B9        4/26/2015     5/9/2015      $26.23 $      26.23       $52.47
Erena           Girma Kebede              3650R         3/15/2015    6/18/2016    $451.03 $      451.03     $902.05
Fahim           Mohammad                  3650A13       4/12/2015    9/12/2015    $876.90 $      876.90   $1,753.80
Fahim           Abdul                     3650J1      10/11/2015      5/7/2016    $722.02 $      722.02   $1,444.04
Garcia          Andres                    3650C5        5/24/2015   10/10/2015    $255.45 $      255.45     $510.89
Godinez         Anahi Alcazar             3650G3        8/16/2015    8/29/2015      $95.14 $      95.14     $190.28
Grigsby         Myesha O                  3650A7t     10/11/2015      5/7/2016    $136.46 $      136.46     $272.93
Hanif           Abdul                     3650M5        1/31/2016     7/2/2016 $1,351.08 $ 1,351.08        $2,702.15
Hotakey         Mohammad Zakaria          3650C8        5/10/2015   10/10/2015 $1,051.74 $ 1,051.74        $2,103.48
Hudson          Debbie Lynn               3650Lt         3/1/2015    5/23/2015      $25.73 $      25.73       $51.45
Islam           MD Rafiqul                3650N         3/29/2015     5/9/2015      $34.00 $      34.00       $67.99
Jan             Javid                     3650E9        7/19/2015    8/15/2015      $37.75 $      37.75       $75.50
Karaman         Garip A                   3650Bt         3/1/2015     6/6/2015    $532.02 $      532.02   $1,064.04
Khan            Nida                      3650I2         1/3/2016    1/30/2016      $29.59 $      29.59       $59.18
Khenjany        Abdul Wahed               3650K8t       11/8/2015    2/13/2016    $752.16 $      752.16   $1,504.33
Kuar            Manjeet                   3650E4         8/2/2015    9/26/2015       $5.82 $       5.82       $11.63
Lam             Vinh The                  3650A16       4/12/2015    7/16/2016 $4,344.65 $ 4,344.65        $8,689.30
Latif           Sayed                     3650F3t       6/21/2015    9/26/2015    $337.66 $      337.66     $675.32
Lieman          Samuel                    3650B7         6/7/2015    3/26/2016 $1,401.96 $ 1,401.96        $2,803.92
Ludovice        John                      3650J2        9/27/2015   10/24/2015      $25.54 $      25.54       $51.09
Malek           Syed Mustafa              3650V         4/12/2015     5/9/2015      $27.55 $      27.55       $55.11
Massoud         Khaja                     3650K5        11/8/2015    3/26/2016    $804.80 $      804.80   $1,609.60
Mirnezami       Seyedhamed                3650C         3/15/2015    9/12/2015    $390.83 $      390.83     $781.66
Mominzada       Abdul Razaq               3650P         5/24/2015    11/7/2015    $977.46 $      977.46   $1,954.93
Montanez        Teresa Marie              3650M4t       1/17/2016    5/21/2016    $735.69 $      735.69   $1,471.38
Montes          Miguel                    3650Ut        3/15/2015    5/21/2016 $3,437.29 $ 3,437.29        $6,874.59
Moreno          Arnoldo Jose De Leon      3650G1        9/13/2015    11/7/2015    $260.29 $      260.29     $520.59
Oliveira        Zelia R                   3650I1      11/22/2015     1/30/2016    $168.19 $      168.19     $336.37
Ruiz            Jose Angel                3650N1t       1/31/2016    5/21/2016    $603.98 $      603.98   $1,207.96
Ruknddin        FNU                       3650K1        3/13/2016     6/4/2016      $30.15 $      30.15       $60.30
Sadat           Sayed F                   3650D4t       5/24/2015     1/2/2016 $2,192.89 $ 2,192.89        $4,385.78
Saiyed          Rifakathusen Gulamhusen   3650I5t       9/13/2015    2/27/2016 $1,352.15 $ 1,352.15        $2,704.29
Salman          Oday                      3650Mt        3/15/2015     7/4/2015    $187.40 $      187.40     $374.80
Santoyo         Gustavo Enrique           3650A9        4/12/2015     6/4/2016 $1,745.62 $ 1,745.62        $3,491.24
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Scott          Laquisha Denise       3650A2t     3/29/2015 5/21/2016     $2,160.25   $ 2,160.25    $4,320.50
Senturk        Ilker                 3650A1      3/15/2015   7/4/2015      $932.80   $    932.80   $1,865.61
Seyoum         Eyob                  3650Y       3/29/2015 10/24/2015    $1,177.72   $ 1,177.72    $2,355.43
Shaukat        Usama                 3650K7t     11/8/2015 2/27/2016       $696.83   $    696.83   $1,393.65
Sheth          Shailesh Yashwan      3650M1t    12/20/2015 5/21/2016     $1,397.44   $ 1,397.44    $2,794.88
Singh          Vikramjit             3650B1      4/12/2015   6/4/2016    $3,397.59   $ 3,397.59    $6,795.18
Singh          Rupinder              3650B2      4/12/2015   6/4/2016    $3,208.05   $ 3,208.05    $6,416.10
Singh          Gaganjit              3650J8     10/11/2015 7/16/2016     $2,244.15   $ 2,244.15    $4,488.29
Singh          Ajmer                 3650F9       8/2/2015 6/18/2016     $2,079.63   $ 2,079.63    $4,159.26
Singh          Amarjit               3650M3t     1/17/2016   5/7/2016      $832.80   $    832.80   $1,665.60
Singh          Ranvir                3650N2t     1/31/2016   6/4/2016      $821.75   $    821.75   $1,643.50
Singh          Gurpartap             3650N6t     2/14/2016   5/7/2016      $497.75   $    497.75     $995.50
Singh          Chandan               3650C4      5/10/2015   6/6/2015      $144.07   $    144.07     $288.14
Soriano        John Paul Torio       3650St      3/15/2015   4/9/2016    $1,223.51   $ 1,223.51    $2,447.02
Torres         Michael Elizan        3650A12     4/12/2015 5/23/2015       $242.98   $    242.98     $485.96
Vasquez        Jose Gustavo Virgen   3650A11t    4/12/2015   8/1/2015      $737.50   $    737.50   $1,475.00
Velazquez      Claudia Lorena        3650E8      7/19/2015   6/4/2016    $1,220.36   $ 1,220.36    $2,440.71
Wilson         Drake Edward          3650A4      4/12/2015 6/18/2016     $1,155.88   $ 1,155.88    $2,311.76
                                                                        $55,000.00   $ 55,000.00 $110,000.00
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                               EXHBIT 2

Payment    Payment
    No.       Date      Payment         Principal              Interest
                                                                          Liquidated Damages &
      1   3/15/2020   $ 6,519.23    $       6,513.81       $      5.42                 Interest
                                                                          Liquidated Damages &
      2    4/1/2020   $ 6,519.23    $       6,427.56   $         91.67                 Interest
                                                                          Liquidated Damages &
      3    5/1/2020   $ 6,519.23    $       6,432.92   $         86.31                 Interest
                                                                          Liquidated Damages &
      4    6/1/2020   $ 6,519.23    $       6,438.28   $         80.95                 Interest
                                                                          Liquidated Damages &
      5    7/1/2020   $ 6,519.23    $       6,443.64   $         75.58                 Interest
                                                                          Liquidated Damages &
      6    8/1/2020   $ 6,519.23    $       6,449.01   $         70.21                 Interest
                                                                          Liquidated Damages &
      7    9/1/2020   $ 6,519.23    $       6,454.38   $         64.84                 Interest
                                                                          Liquidated Damages &
      8   10/1/2020   $ 6,519.23    $       6,459.76   $         59.46                 Interest
                                                                          Liquidated Damages &
      9   11/1/2020   $ 6,519.23    $      6,465.15    $         54.08                 Interest
     10   12/1/2020   $ 6,519.23    $      6,470.53    $         48.69      BWs, LDs & Interest
     11    1/1/2021   $ 6,519.23    $      6,475.93    $         43.30    Backwages & Interest
     12    2/1/2021   $ 6,519.23    $      6,481.32    $         37.90    Backwages & Interest
     13    3/1/2021   $ 6,519.23    $      6,486.72    $         32.50    Backwages & Interest
     14    4/1/2021   $ 6,519.23    $      6,492.13    $         27.10    Backwages & Interest
     15    5/1/2021   $ 6,519.23    $      6,497.54    $         21.69    Backwages & Interest
     16    6/1/2021   $ 6,519.23    $      6,502.95    $         16.27    Backwages & Interest
     17    7/1/2021   $ 6,519.23    $      6,508.37    $         10.85    Backwages & Interest
TOTAL                 $110,826.91   $     110,000.00   $        826.91
